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               Control and Matthew Campoy
           8

           9                           IN THE UNITED STATES DISTRICT COURT

          10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

          11

          12   VIDEO GAMING TECHNOLOGIES,                             2:08-CV-01241-JAM-EFB
               INC., dba VGT, Inc., a Tennessee
          13   Corporation; UNITED CEREBRAL                           STIPULATION TO EXTEND TIME TO
               PALSY OF GREATER SACRAMENTO, a                         DISCLOSE EXPERT WITNESSES AND
          14   California Non-Profit Corporation; WIND                ORDER
               Youth Services, a California Non-Profit
          15   Corporation; ROBERT FOSS, an
               individual; JOAN SEBASTIANI, an
          16   individual,                                             ASSIGNED FOR ALL PURPOSES TO:
                                        Plaintiffs-Appellees,           HONORABLE JOHN A. MENDEZ
          17                 v.
          18   BUREAU OF GAMBLING CONTROL, a
               law enforcement division of the California
          19   Department of Justice; MATHEW J.
               CAMPOY, in his official capacity as the
          20   Acting Chief of the Bureau of Gambling
               Control,
          21
                                      Defendants-Appellants.
          22
                                                                      Courtroom: 6
          23   CAPITAL BINGO, INC., a California                      Trial Date January 25, 2010
               corporation, HAGGIN GRANT POST NO.                     Action Filed: June 4, 2008
          24   521, THE AMERICAN LEGION,
               DEPARTMENT OF CALIFORNIA, a
          25   California nonprofit corporation, CASA
               ROBLE HIGH SCHOOL RAMSMEN,
          26   INCL., a California nonprofit corporation;
               and MARY BROWN, an individual,
          27
                                                    Intervenor.
          28
                                                                  1
                                   Stipulation to Extend Time to Disclose Expert Witnesses and Order (2:08-CV-01241-JAM-EFB)

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           1         WHEREAS, on October 6, 2008, the Court entered the current Status (Pre-trial Scheduling)

           2   Order (“Scheduling Order”). Among other things, the Scheduling Order provided that disclosure

           3   of expert witnesses shall be made by July 10, 2009, and disclosure of rebuttal experts shall be

           4   made by July 17, 2009. The Scheduling Order also provided that discovery shall be completed by

           5   September 17, 2009;

           6         WHEREAS, on April 14, 2009, the Court granted the Motion for a Preliminary Injunction

           7   filed by Plaintiffs United Cerebral Palsy of Greater Sacramento, WIND Youth Services, Robert

           8   Foss’s and Plaintiff/Intervenors’ Capital Bingo, Inc., Haggin Grant Post No. 521, The American

           9   Legion, Department of California, Mary Brown, and El Camino Athletic Boosters Club
          10   (“Plaintiffs”) Motion for a Preliminary Injunction, and on May 7, 2009, the Court entered its
          11   preliminary injunction restraining and enjoining Defendants Bureau of Gambling Control,
          12   Matthew J. Campoy, and John McGinness (“Defendants”) from taking enforcement actions
          13   against Plaintiff;
          14         WHEREAS, on May 26, 2009, Defendant Bureau of Gambling Control filed its Notice of
          15   Appeal;
          16         WHEREAS, on June 3, 2009, Defendant John McGuiness filed his Notice of Appeal;
          17         WHEREAS, on July 1, 2009, Defendants filed their opening briefs in the Ninth Circuit
          18   Court of Appeal;
          19         WHEREAS, on July 6, 2009, the parties entered into a stipulation to extend the time in
          20   which to disclose experts and rebuttal experts to August 10, 2009, and August 17, 2009,

          21   respectively;

          22         WHEREAS, on July 29, 2009, Plaintiff/Appellees and Intervenors filed their two answering

          23   briefs of approximately 50 pages each in the Ninth Circuit Court of Appeals;

          24         WHEREAS, Defendants/Appellants’ Reply Briefs are due to be filed in the Ninth Circuit

          25   Court of Appeals on August 12, 2009;

          26         WHEREAS, the parties have scheduled a teleconference for August 17, 2009, to discuss

          27   discovery and possible stipulations;

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           1         WHEREAS, and for good cause appearing, the parties hereby stipulate that:

           2         1.    Given the time and attention Defendants/Appellants must devote to the appellate

           3   proceedings with Appellants’ reply briefs due on August 12, 2009, the parties agree that a further

           4   extension of seven (7) days’ time from the currently scheduled time to disclose expert witnesses

           5   is necessary, from August 10 to August 17, 2009; and

           6         2.    The parties hereto further agree that an extension of seven (7), days time to disclose

           7   rebuttal experts shall also be made, from August 17, 2009 to August 24, 2009, for the same

           8   reasons.

           9   IT IS SO STIPULATED:

          10   Dated: August 7, 2009                         OFFICE OF THE ATTORNEY GENERAL JR.
                                                             Attorney General of California
          11                                                 SARA J. DRAKE
                                                             Supervising Deputy Attorney General
          12
                                                             /s/ WILLIAM L. WILLIAMS, JR.
          13                                                 BY:________________________________
                                                                    WILLIAM L. WILLIAMS, JR.
          14                                                        Deputy Attorney General
          15                                                 ATTORNEYS FOR DEFENDANTS BUREAU OF
                                                             GAMBLING CONTROL AND MATHEW
          16                                                 CAMPOY
          17   Dated: August 7, 2009                         NOSSAMAN LLP
          18                                                 /s/ SOPHIE-NICOLE FROELICH
          19                                                 BY:________________________________
                                                                    SOPHIE-NICOLE FROELICH
          20
                                                             ATTORNEYS FOR PLAINTIFFS AND
          21                                                 INTERVENORS UNITED CEREBRAL PALSY OF
                                                             GREATER SACRAMENTO, A CALIFORNIA
          22                                                 NON-PROFIT CORPORATION; WIND YOUTH
                                                             SERVICES, A CALIFORNIA NON-PROFIT
          23                                                 CORPORATION; ROBERT FOSS, AN
                                                             INDIVIDUAL; AND CAPITAL BINGO, INC., A
          24                                                 CALIFORNIA CORPORATION; HAGGIN GRANT
                                                             POST NO. 521, THE AMERICAN LEGION
          25                                                 DEPARTMENT OF CALIFORNIA, A
                                                             CALIFORNIA NON-PROFIT CORPORATION;
          26                                                 CASA ROBLE HIGH SCHOOL RAMSEMEN,
                                                             INC., A CALIFORNIA NON-PROFIT
          27                                                 CORPORATION; MARY BROWN, AN
                                                             INDIVIDUAL
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           1   Dated: August 7, 2009                         LAW OFFICE OF K. GREG PETERSON

           2                                                 /s/ KENNETH GREGORY PETERSON.

           3                                                 BY:________________________________
                                                                   KENNETH GREGORY PETERSON
           4
                                                             ATTORNEYS FOR INTERVENOR PLAINTIFFS EL
           5                                                 CAMINO ATHLETIC BOOSTER CLUB

           6

           7   Dated: August 7, 2009                         SACRAMENTO COUNTY COUNSEL’S OFFICE

           8                                                 /s/ JOHN EDWARD REED

           9                                                 BY:________________________________
                                                                   JOHN EDWARD REED
          10
                                                             ATTORNEYS FOR DEFENDANT JOHN
          11                                                 MCGINNISS
          12

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                                  Stipulation to Extend Time to Disclose Expert Witnesses and Order (2:08-CV-01241-JAM-EFB)

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           1                                                   ORDER

           2         Based on the above stipulation and for good cause shown, the time in which the parties may

           3   serve their disclosures of expert witness information in accordance with this Court’s Scheduling

           4   Order is hereby extended as follows:

           5         1.   The time by which all parties must make their expert witness disclosures under

           6   Federal Rule of Civil Procedure 26(a)(2) is extended from August 10, 2009 to August 17, 2009;

           7   and

           8         2.   The time by which supplemental disclosure and disclosure of any rebuttal experts

           9   under Federal Rule of Civil Procedure 26(a)(2)(c) by any parties must be completed is extended

          10   from August 17, 2009 to August 24, 2009.

          11          IT IS SO ORDERED.
          12

          13   Dated: August 10, 2009                          /s/ John A. Mendez______________
                                                               HONORABLE JOHN A. MENDEZ
          14                                                   U.S. District Court Judge

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                                    Stipulation to Extend Time to Disclose Expert Witnesses and Order (2:08-CV-01241-JAM-EFB)

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